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                          PRESS RELEASE
                          October 13, 2020



                          Apple announces iPhone 12
                          and iPhone 12 mini: A new era
                          for iPhone with 5G
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                          iPhone 12 and iPhone 12 mini introduce a beautiful new design
                          packed with innovative features, including A14 Bionic, an
                          advanced dual-camera system, and a Super Retina XDR
                          display with the Ceramic Shield front cover




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                          Cupertino, California — Apple today unveiled iPhone 12 and iPhone 12 mini with
                          5G technology, ushering in a new era for the worldʼs best smartphone. The newly
                          designed iPhone 12 models feature expansive edge-to-edge Super Retina XDR
                          displays for a brighter, more immersive viewing experience, and a new Ceramic
                          Shield front cover, providing the biggest jump in durability ever on iPhone. The
                          Apple-designed A14 Bionic, the fastest chip in a smartphone, powers every
                          experience on iPhone 12, and coupled with an advanced dual-camera system,
                          delivers meaningful new computational photography features and the highest
                          quality video in a smartphone. iPhone 12 models also introduce MagSafe,
                          offering high-powered wireless charging and an all-new ecosystem of
                          accessories that easily attach to iPhone.




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                          iPhone 12 and iPhone 12 mini will be available in five beautiful aluminum finishes,
                          including blue, green, black, white, and (PRODUCT)RED.1 Pre-orders for iPhone
                          12 begin Friday, October 16, with availability beginning Friday, October 23.
                          iPhone 12 mini will be available for pre-order beginning Friday, November 6, and
                          in stores beginning Friday, November 13.

                          “The arrival of 5G marks the beginning of a new era for iPhone and weʼre thrilled
                          to bring these impressive new capabilities to our customers with iPhone 12 and
                          iPhone 12 mini,” said Greg Joswiak, Appleʼs senior vice president of Worldwide
                          Marketing. “Weʼre once again pushing the boundaries to deliver incredible
                          computational photography advancements, Super Retina XDR displays, and the
                          biggest leap in durability in iPhone history with the new Ceramic Shield front
                          cover. Available in two great sizes, iPhone 12 and iPhone 12 mini take design to a
                          new level in a new form factor thatʼs as beautiful as it is durable, and makes it
                          easier than ever for customers to find the perfect iPhone to fit their lifestyle.”




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                          A Breakthrough 5G Experience on iPhone
                          iPhone 12 and iPhone 12 mini deliver an advanced 5G experience on a global
                          scale, engineered with a seamless integration of world-class hardware and
                          world-class software. 5G on iPhone boasts improved speeds for faster
                          downloads and uploads, higher quality video streaming, more responsive
                          gaming, real-time interactivity in apps, FaceTime in high definition, and more.
                          Customers will also be able to enjoy a secure, fast connection, reducing the need
                          to connect to public Wi-Fi hotspots.

                          Featuring the most 5G bands on any smartphone, iPhone 12 models offer the
                          broadest 5G coverage worldwide.2 Models in the US support millimeter wave,
                          the higher frequency version of 5G, allowing iPhone 12 to reach speeds up to
                          4Gbps, even in densely populated areas. iPhone 12 models also feature Smart
                          Data mode, which extends battery life by intelligently assessing 5G needs and
                          balancing data usage, speed, and power in real time.




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                          A14 Bionic: Undisputed Leadership in Innovation and
                          Performance
                          Generations ahead of the competition, A14 Bionic is the first chip in the
                          smartphone industry built on 5-nanometer process. Faster and more efficient
                          than ever, A14 Bionic has the fastest CPU and GPU by up to 50 percent
                          compared to the fastest competing smartphone chips, enabling console-quality
                          gaming experiences, powerful computational photography, and more, while
                          delivering great battery life. Pushing the limits of machine learning (ML), A14
                          Bionic features a 16-core Neural Engine — for an 80 percent increase in
                          performance — that is capable of completing 11 trillion operations per second,
                          enabling improved performance on even the most intense ML models.




                          Durable Design and Immersive Display
                          The elevated new design of the 6.1-inch iPhone 12 and 5.4-inch iPhone 12 mini
                          are as beautiful as they are durable.3 And iPhone 12 mini is the smallest, thinnest,
                          and lightest 5G smartphone in the world, re-architected to pack all the

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                          technology of iPhone 12 into a delightfully compact size, while still delivering an
                          impressively large and immersive edge-to-edge display. Both models feature a
                          sleek new flat-edge design with an aerospace-grade aluminum enclosure and
                          combined with the Ceramic Shield front cover, which goes beyond glass by
                          adding a new high temperature crystallization step that grows nano-ceramic
                          crystals within the glass matrix, increases drop performance by 4x.4




                          iPhone 12 and iPhone 12 mini feature all-screen Super Retina XDR displays that
                          stretch further to the edges, with systemwide color management for industry-
                          leading color accuracy. Both models deliver a 2 million-to-1 contrast ratio for true
                          blacks, and an immersive HDR viewing experience for high-definition video,
                          photos with more detail, and nearly twice the peak brightness of iPhone 11.

                          iPhone 12 and iPhone 12 mini have an industry-leading IP68 rating for water
                          resistance up to 6 meters for up to 30 minutes, and are protected against
                          everyday spills, including coffee and soda.5




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                          New Advanced Dual-Camera System
                          iPhone 12 and iPhone 12 mini deliver powerful computational photography
                          features enabled by A14 Bionic and a new dual-camera system, bringing an
                          unparalleled camera experience that makes it easier than ever to intuitively
                          capture the perfect photograph or video. This advanced camera system features
                          the Ultra Wide camera and a new Wide camera with an ƒ/1.6 aperture, the
                          fastest yet on iPhone, providing 27 percent more light for even more amazing
                          low-light photos and videos. Computational photography is taken to the next
                          level on iPhone 12 models with Night mode and faster-performing Deep Fusion
                          now on all cameras — TrueDepth, Wide, and Ultra Wide — for improved photos
                          in any environment. Customers will experience brighter pictures and better
                          contrast for photos shot in low-light settings with Night mode, and more texture
                          and less noise in Deep Fusion photos. Smart HDR 3 uses ML to intelligently
                          adjust the white balance, contrast, texture, and saturation of a photo for
                          remarkably natural-looking images.


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                          iPhone 12 features the first camera to shoot HDR video with Dolby Vision and is
                          the first and only device in the world to enable an end-to-end Dolby Vision
                          experience,6 allowing customers to easily capture, edit, and share cinema-grade
                          videos natively on iPhone. Dolby Vision grading is processed live while
                          recording, and sustained during editing, whether in the Photos app or iMovie.
                          And playback on iPhone 12 is more realistic than ever on the industry-leading
                          Super Retina XDR display. Both models also now feature improved cinematic
                          video stabilization, even more true-to-life selfie videos with Dolby Vision, and
                          Night mode Time-Lapse, offering longer exposure times for sharper videos,
                          better light trails, and smoother exposure in low-light scenarios when used with
                          a tripod.




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                          Innovative New Accessories with MagSafe
                          MagSafe improves wireless charging for a better, more efficient experience, and
                          introduces an ecosystem of easy-to-attach accessories that beautifully
                          complement iPhone 12 models.7 MagSafe delivers a unique experience to
                          iPhone, featuring an array of magnets around the wireless charging coil,
                          optimized for alignment and efficiency, that perfectly connects to iPhone every
                          time. MagSafe chargers efficiently provide up to 15W of power, while still
                          accommodating existing Qi-enabled devices. Charging solutions include the
                          MagSafe Charger and MagSafe Duo Charger for use with iPhone and Apple
                          Watch, as well as new silicone, leather, and clear cases that easily snap onto the
                          back of iPhone, and a leather wallet. Customers can also expect innovative
                          MagSafe accessories from third-party manufacturers.




                          Featuring iOS 14


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                          iOS 14 delivers a reimagined iPhone experience with new ways to customize the
                          Home Screen. Beautifully redesigned widgets present timely information at a
                          glance and can be pinned in different sizes on any Home Screen page. The App
                          Library is a new space that automatically organizes all of a userʼs apps into one
                          simple, easy-to-navigate view. iOS 14 also brings new ways to discover and use
                          apps with App Clips, powerful updates for staying connected in Messages,
                          greener ways to explore cities with Maps, and enhanced privacy features for
                          even more transparency and control.8




                          Committed to the Environment

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                          Today, Apple is carbon neutral for global corporate operations, and by 2030,
                          plans to have net zero climate impact across the entire business, which includes
                          manufacturing supply chains and all product life cycles. This means that every
                          Apple device sold, from material collection, component manufacturing,
                          assembly, transport, customer use, charging, all the way through recycling and
                          material recovery, will be 100 percent carbon neutral. iPhone 12 models were
                          designed with the environment in mind. For the first time, iPhone 12 models will
                          utilize 100 percent recycled rare earth elements in all magnets, including the new
                          camera, Taptic Engine, and MagSafe, as well as Appleʼs MagSafe accessories.
                          Apple is also removing the power adapter and EarPods from iPhone packaging,
                          further reducing carbon emissions and avoiding the mining and use of precious
                          materials, which enables smaller and lighter packaging, and allows for 70
                          percent more boxes to be shipped on a pallet. Taken altogether, these changes
                          will cut over 2 million metric tons of carbon emissions annually, equivalent to
                          removing nearly 450,000 cars from the road per year.


                          Pricing and Availability

                             iPhone 12 and iPhone 12 mini will be available in 64GB, 128GB, and 256GB models in blue, green,
                             black, white, and (PRODUCT)RED starting at $799 and $699, respectively. Customers can also get
                             iPhone 12 for $22.87 a month or $549 with trade-in and iPhone 12 mini for $18.70 a month or
                             $449 with trade-in from apple.com, in the Apple Store app, and at Apple Store locations.9 iPhone
                             12 and iPhone 12 mini are also available through Apple Authorized Resellers and select carriers
                             (prices may vary).

                             Customers in Australia, China, Germany, Japan, the UK, the US, and more than 30 other countries
                             and regions will be able to pre-order iPhone 12 beginning at 5 a.m. PDT on Friday, October 16, with
                             availability beginning Friday, October 23. iPhone 12 mini will be available for pre-order beginning at
                             5 a.m. PST on Friday, November 6, with availability beginning Friday, November 13.

                             iPhone 12 will be available in India, South Korea, and more than a dozen other countries and regions
                             beginning Friday, October 30.

                             MagSafe Charger, Leather Wallet with MagSafe, and iPhone 12 Silicone Case and Clear Case will be
                             available beginning Friday, October 16. iPhone 12 Leather Case will be available beginning Friday,
                             November 6. MagSafe Duo Charger and Leather Sleeve will be available at a later date.

                             Through Appleʼs iPhone Upgrade Program, customers in the US can get iPhone 12 and iPhone 12
                             mini with the protection of AppleCare+, choose their carrier (no multiyear service contract
                             required), and have the opportunity to upgrade to a new iPhone every year. The iPhone Upgrade
                             Program is available for iPhone 12 and iPhone 12 mini at apple.com and Apple Store locations in the
                             US with monthly payments starting at $35.33.

                             Customers in the US choosing to pay with Apple Card Monthly Installments or joining or upgrading
                             through the iPhone Upgrade Program can use the Apple Store app on their iPhone to get ready for
                             iPhone 12 pre-order until 9 p.m. PDT on Thursday, October 15. From Monday, November 2,
                             customers can get ready for iPhone 12 mini pre-order until 9 p.m. PST on Thursday, November 5.

                             For a limited time, eligible customers who purchase a new iPhone, iPad, iPod touch, Apple TV, or
                             Mac can enjoy one year of Apple TV+ for free and three months of Apple Arcade for free.10

                             Apple One is the easiest way to get many Apple subscription services at a great value, so
                             customers can choose the one plan that is right for them or their whole family. Customers can sign
                             up for Apple One starting this fall.

                             Customers are able to find the same great shopping and support services at apple.com and at
                             Apple Store locations. Customers can get shopping help from Apple Specialists, choose monthly
                             financing options, trade in eligible devices, and get Support services and no-contact delivery or
                             Apple Store pickup options. Customers are encouraged to check apple.com/retail for more
                             information on the health and safety measures in place, and the services available, at their local
                             store.

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                             Customers in the US can trade in their eligible device for an Apple Gift Card or instant credit toward
                             their new purchase. If the device is not eligible for credit, Apple will recycle it for free.

                             Customers in the US get 3 percent Daily Cash back when they buy directly from Apple with Apple
                             Card. And when they choose Apple Card Monthly Installments, they can pay over time, interest-
                             free.11

                             Customers can extend their limited warranty with AppleCare+ and get accidental damage
                             protection, or AppleCare+ with Theft and Loss, and get 24/7 priority access to technical support.

                             Every customer who buys iPhone from Apple can enjoy a free Online Personal Session with an
                             Apple Specialist, to help them explore and discover all the amazing things they can do with their
                             new iPhone.



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                                                  Images of iPhone 12 and iPhone 12 mini
                                                  Download all images 




                          Apple revolutionized personal technology with the introduction of the Macintosh
                          in 1984. Today, Apple leads the world in innovation with iPhone, iPad, Mac,
                          Apple Watch, and Apple TV. Appleʼs five software platforms — iOS, iPadOS,
                          macOS, watchOS, and tvOS — provide seamless experiences across all Apple
                          devices and empower people with breakthrough services including the App
                          Store, Apple Music, Apple Pay, and iCloud. Appleʼs more than 100,000
                          employees are dedicated to making the best products on earth, and to leaving
                          the world better than we found it.


                           . A portion of the proceeds from every (PRODUCT)RED purchase goes to the Global Fund to fight AIDS. From now
                             until December 31, 2020, those proceeds will go to the Global Fundʼs COVID-19 response.
                           . Data plan is required. 5G, Gigabit LTE, VoLTE, and Wi-Fi calling are available in select markets and through select
                             carriers. Speeds are based on theoretical throughput and vary based on site conditions and carrier. For details
                             on 5G and LTE support, customers can contact their carrier or visit apple.com/iphone/cellular.
                           . The displays have rounded corners. When measured as a rectangle, the screen is 6.06 inches (iPhone 12) or
                             5.42 inches (iPhone 12 mini) diagonally. Actual viewable area is less.
                           . Claim is based on iPhone 12 Ceramic Shield front cover compared with the previous-generation iPhone.
                           . iPhone 12 and iPhone 12 mini are splash-, water-, and dust-resistant, and were tested under controlled
                             laboratory conditions and have a rating of IP68 under IEC standard 60529 (maximum depth of 6 meters up to 30
                             minutes). Splash, water, and dust resistance are not permanent conditions and resistance may decrease as a
                             result of normal wear. Do not attempt to charge a wet iPhone; refer to the user guide for cleaning and drying
                             instructions. Liquid damage is not covered under warranty.
                           . 4K Dolby Vision playback requires Apple TV 4K or an AirPlay-enabled TV.
                           . MagSafe accessories including chargers, cases, and wallets are sold separately.
                           . Some features may not be available in all regions or all languages. For more information on iOS 14, visit
                             apple.com/ios/ios-14.
                           . Price includes a $30 AT&T or Verizon discount. Requires activation with carrier. Trade-in: iPhone 12 and iPhone
                             12 mini pricing based on trade-in of iPhone X in good condition. Trade-in values require purchase of a new
                             iPhone, subject to availability and limits. Trade-in values will vary based on the condition, year, and configuration
                             of the eligible trade-in device. Not all devices are eligible for credit. Customers must be at least 18 years old to
                             be eligible to trade in for credit or for an Apple Gift Card. Trade-in value may be applied toward a qualifying new
                             device purchase, or added to an Apple Gift Card. Actual value awarded is based on receipt of a qualifying device
                             matching the description provided when estimate was made. Sales tax may be assessed on the full value of a
                             new device purchase. In-store trade-in requires presentation of a valid, government-issued photo ID (local law
                             may require saving this information). Offer may not be available in all stores, and may vary between in-store and
                             online trade-in. Some stores may have additional requirements. Apple or its trade-in partners reserve the right to
                             refuse or limit quantity of any trade-in transaction for any reason. More details are available from Appleʼs trade-
                             in partners for trade-in and recycling of eligible devices. Monthly pricing: Available to qualified customers and
                             requires a 0 percent APR, 24-month installment loan with Citizens One or Apple Card Monthly Installments and


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                            iPhone activation with AT&T, T-Mobile, or Verizon for purchases at an Apple Store. Taxes and shipping are not
                            included in monthly pricing. Additional Apple Card Monthly Installments terms are in the Customer Agreement.
                            For additional iPhone Payments terms, visit apple.com/legal/sales-support/iphoneinstallments_us.
                           . $4.99 per month each for Apple TV+ and Apple Arcade after free trial. Special offers are good for three months
                             after the first activation of the eligible device. Apple Arcade offer begins October 22. One Apple TV+ offer and
                             one Apple Arcade offer per Family Sharing group. Plans automatically renew until cancelled. Other restrictions
                             and terms apply; visit apple.com/promo for more information.
                           . Apple Card Monthly Installments is available for certain Apple products and is subject to credit approval and
                             credit limit. For more information on available products, see a Specialist for more details. iPhone activation is
                             required on iPhone purchases made at an Apple Store with one of these national carriers: AT&T, T-Mobile, or
                             Verizon. Variable APRs for Apple Card other than Apple Card Monthly Installments range from 10.99 percent to
                             21.99 percent based on creditworthiness. Rates as of April 1, 2020. Taxes and shipping are not included in Apple
                             Card Monthly Installments and are subject to the standard purchase APR. See the Apple Card Customer
                             Agreement for more information. To access and use all the features of Apple Card, customers must add Apple
                             Card to Wallet on an iPhone with iOS 12.4 or later. To manage Apple Card Monthly Installments, customers need
                             an iPhone with iOS 13.2 or later or an iPad with iPadOS 13.2 or later. Update to the latest version of iOS or
                             iPadOS by choosing Settings > General > Software Update. Tap Download, then Install. Available for qualifying
                             applicants in the United States. Issued by Goldman Sachs Bank USA, Salt Lake City Branch.




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                                                             Latin founders
                                                             March 3, 2022




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                                                             February 25, 2022

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   Shop and Learn                    Services                           Apple Store                      For Business                     Apple Values

   Store                             Apple Music                        Find a Store                     Apple and Business               Accessibility

   Mac                               Apple TV+                          Genius Bar                       Shop for Business                Education

   iPad                              Apple Fitness+                     Today at Apple                                                    Environment
                                                                                                         For Education
   iPhone                            Apple News+                        Apple Camp                                                        Inclusion and Diversity
                                                                                                         Apple and Education
   Watch                             Apple Arcade                       Apple Store App                                                   Privacy
                                                                                                         Shop for K-12
   AirPods                           iCloud                             Refurbished and Clearance                                         Racial Equity and Justice
                                                                                                         Shop for College
   TV & Home                         Apple One                          Financing                                                         Supplier Responsibility

   iPod touch                        Apple Card                         Apple Trade In                   For Healthcare
                                                                                                                                          About Apple
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                                                                                                                                          Newsroom
   Accessories                       Apple Podcasts                     Shopping Help                    Health on Apple Watch
                                                                                                                                          Apple Leadership
   Gift Cards                        App Store                                                           Health Records on iPhone
                                                                                                                                          Career Opportunities

                                     Account                                                             For Government                   Investors

                                     Manage Your Apple ID                                                Shop for Government              Ethics & Compliance

                                     Apple Store Account                                                 Shop for Veterans and Military   Events

                                     iCloud.com                                                                                           Contact Apple



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